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 EXHIBIT B
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                                        Curling
                                        v.
                                        Raffensperger,

                                        Civil Action No.
                                        1:17-CV-02989-AT


                                        DEFENDANTS’ CLOSING ARGUMENT

                                        F E B R U A R Y 1 , 2 0 24
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“A share in the sovereignty of the state,
which is exercised by the citizens at large, in
voting at elections is one of the most
important rights of the subject, and in a
republic ought to stand foremost in the
estimation of the law.”
                                                    The Bookends
- Alexander Hamilton

Second Letter from Phocion (April 1784),
reprinted in 3 The Papers of Alexander
Hamilton, 1782–1786, 530–58 (Harold C.
Syrett ed., 1962).
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“Federal judges can have a lot of power—
especially when issuing injunctions. And
sometimes we may even have a good idea
or two. But the Constitution sets out our
sphere of decisionmaking, and that sphere          The Bookends
does not extend to second-guessing and
interfering with a State’s reasonable,
nondiscriminatory election rules.”

New Georgia Project v. Raffensperger, 976
F.3d 1278, 1284 (11th Cir. 2020)
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United States Constitution:
 ◦ Article I, Section 4: “The Times, Places and
    Manner of holding Elections for Senators and
    Representatives, shall be prescribed in each
    State by the Legislature thereof.”




“Although Georgia’s election system is not perfect,
the challenged practices violate neither the
constitution nor the VRA. As the Eleventh Circuit
notes, federal courts are not “‘the arbiter[s] of
disputes’ which arise in elections; it [is] not the
federal court's role to ‘oversee the administrative
                                                          Underlying
                                                          Presumptions
details of a local election.”’ Curry v. Baker, 802 F.2d
1302, 1306 (11th Cir. 1986).”

Fair Fight Action, Inc. v. Raffensperger, 634 F. Supp.
3d 1128, 1251 (N.D. Ga. 2022).



Courts do not “sit as a guarantor of a flawless
election.”
Georgia Shift v. Gwinnett Cty., No.1:19-CV-01135-AT,
2020 WL 864938, at *6 (N.D. Ga. Feb. 12, 2020)
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                                  Standing: Tyson
Structure of
Closing
                                  Anderson/Burdick: Belinfante


                                  Remedies/Remaining Factors: Miller


                                                                               5
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                                   “Article III of the Constitution limits the subject-matter
                                   jurisdiction of federal courts to ‘Cases’ and
                                   ‘Controversies.’ U.S. Const. art. III, § 2. ‘To have a case
                                   or controversy, a litigant must establish that he has
Standing                           standing,’ which requires proof of three elements.
                                   United States v. Amodeo, 916 F.3d 967, 971 (11th Cir.
                                   2019). The litigant must prove (1) an injury in fact that
                                   (2) is fairly traceable to the challenged action of the
                                   defendant and (3) is likely to be redressed by a
                                   favorable decision. Lujan v. Defs. of Wildlife, 504 U.S.
                                   555, 560-61, 112 S. Ct. 2130, 119 L. Ed. 2d 351
                                   (1992).”
                                   Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245
                                   (11th Cir. 2020) (emphasis added)

                                                                                             6
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Standing:
                                Must be “for each claim and . . . for each form of relief
Injury                          that is sought.” Town of Chester v. Laroe Estates, Inc.,
                                137 S. Ct. 1645, 1650 (2017).




                                                                                        7
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                               “To prove injury in fact based on an organization’s
                               diversion of resources to protect individuals from harm,
Standing:                      the organizational plaintiff must prove both that it has
                               diverted its resources and that the injury to the
Injury                         identifiable community that the organization seeks to
                               protect is itself a legally cognizable Article III injury that
                               is closely connected to the diversion. . . . The harm
                               must be concrete and imminent.”
                               City of S. Miami v. Governor of Fla., 65 F.4th 631, 638-
                               39 (11th Cir. 2023)



                                                                                            8
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                                 In the absence of any evidence that the Secretary controls ballot order,
                                 the voters and organizations likewise cannot rely on the Secretary's

Standing:                        general election authority to establish traceability. Jacobson v. Florida
                                 Sec’y of State, 974 F.3d 1236, 1254 (11th Cir. 2020).


Traceability                     “A declaratory judgment against the Secretary does not bind the [local]
                                 Supervisors, ‘who are not parties’ to this action As nonparties, the
                                 [local] Supervisors are not ‘obliged … in any binding sense … to honor an
                                 incidental legal determination [this] suit produces.’” Id.

                                 “While the Secretary has rulemaking authority, as in Jacobson, this
                                 power is limited to rules and regulations that are “consistent with law.”
                                 O.C.G.A. § 21-2-31(2). And the law gives the authority to conduct the
                                 signature-verification process to local supervisors, not the Secretary. Id.
                                 § 21-2-386(a)(1)(B).” Ga. Republican Party, Inc. v. Sec'y of State for Ga.,
                                 20-14741-RR, 2020 WL 7488181, at *2 (11th Cir. Dec. 21, 2020)


                                                                                                             9
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Standing:                       “‘it must be “likely,” as opposed to merely “speculative,” that the injury
                                will be “redressed by a favorable decision”’ of the court.”

Redressability                  Ga. Ass’n of Latino Elected Offs., Inc. v. Gwinnett Cty. Bd. of Registration
                                & Elections, 36 F.4th 1100, 1116 (11th Cir. 2022)




                                                                                                             10
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Plaintiffs’
Injury




                                                           MSJ Order, p. 94
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                             “By contrast, ‘no single voter is specifically
                             disadvantaged’ if a vote is counted improperly, even if
                             the error might have a ‘mathematical impact on the
                             final tally and thus on the proportional effect of every
                             vote.’ Bognet v. Sec’y Commonwealth of Pa., 980 F.3d
Individual                   336, 2020 U.S. App. LEXIS 35639, 2020 WL 6686120,
                             at *12 (3d Cir. Nov. 13, 2020) (internal quotation marks
Standing in                  omitted). Vote dilution in this context is a ‘paradigmatic
                             generalized grievance that cannot support standing.’ Id.
Voting Cases                 (internal quotation marks omitted).”

                             Wood v. Raffensperger, 981 F.3d 1307, 1314-1315
                             (11th Cir. 2020) (emphasis added)
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                             “This is a textbook generalized grievance. Bognet, 2020
                             U.S. App. LEXIS 35639, 2020 WL 6686120, at *12
                             (“Voter Plaintiffs’ dilution claim is a paradigmatic
                             generalized grievance that cannot support standing. . . .
                             Put another way, a vote cast by fraud or mailed in by the
                             wrong person through mistake, or otherwise counted
                             illegally, has a mathematical impact on the final tally
Individual                   and thus on the proportional effect of every vote, but no
Standing in                  single voter is specifically disadvantaged. Such an
                             alleged dilution is suffered equally by all voters and is
Voting Cases                 not particularized for standing purposes.”) (internal
                             punctuation omitted) (collecting cases).”


                             Wood v. Raffensperger, 501 F. Supp. 3d 1310, 1322
                             (N.D. Ga. 2020) (emphasis added)
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                            “Even if we assume that absentee voters are favored
                            over in-person voters, that harm does not affect Wood
                            as an individual—it is instead shared identically by the
                            four million or so Georgians who voted in person this
                            November. ‘[W]hen the asserted harm is . . . shared in
                            substantially equal measure by . . . a large class of
Individual                  citizens,’ it is not a particularized injury. Warth v. Seldin,
                            422 U.S. 490, 499, 95 S. Ct. 2197, 45 L. Ed. 2d 343
Standing in                 (1975). And irregularities in the tabulation of election
                            results do not affect Wood differently from any other
Voting Cases                person. His allegation, at bottom, remains ‘that the law .
                            . . has not been followed.’ Dillard v. Chilton Cnty.
                            Comm’n, 495 F.3d 1324, 1332 (11th Cir. 2007).”

                            Wood v. Raffensperger, 981 F.3d 1307, 1315 (11th Cir.
                            2020) (emphasis added)
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                                            • There is a risk that hand-marked paper ballots
                                              may not be counted correctly by scanner as well
                                               • Schoenberg, Vol. I, 108:15-21
                                               • L. Digges, Vol. I, 208:1-24 (assuming
                                                  scanner counts votes correctly)
                                               • Price, Vol. II, 31:10-16.
                                               • W. Digges, Vol. II, 41:5-9.
                                               • Nakamura, Vol. II, 115:11-16, 117:3-23.
                                               • Curling, Vol. V, 13:19-25
                                               • Missett, Vol. VIII, 167:13-168:4
Individual
Plaintiffs
     Case 1:17-cv-02989-AT Document 1820-2 Filed 02/08/24 Page 17 of 92




                                            • No evidence that vote was ever not correctly
                                              counted in a Georgia election or that any BMD
                                              was hacked
                                                • Schoenberg, Vol. I, 90:2-8
                                                • L. Digges, Vol. I, 210:6-19
                                                • Dufort, Vol. I, 188:14-20
                                                • Price, Vol. II, 32:25-33:7
                                                • W. Digges, Vol. II, 45:25-46:2
                                                • Davis, Vol. II, 195:7-20
                                                • Curling, Vol. V, 14:1-3
Individual                                      • Halderman, Vol. VIIB, 227:23–229:20
Plaintiffs                                      • Missett, Vol. VIII, 161:4-11, 162:7-11
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Individual
Plaintiffs

                                                      DX 67 (admitted); Tr. Vol. VIIB 234:5–23


                                       • “Counted as cast” based on the evidence at trial is a
                                         generalized grievance.

                                       • Even if it is not, Plaintiffs have only shown speculative
                                         fears of hypothetical future harms. Tsao v. Captiva MVP
                                         Rest. Partners, LLC, 986 F.3d 1332, 1338–39 (11th
                                         Cir. 2021).
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                            “The organizations also argue that their members have
                            suffered present harm because the members have
                            refused ‘essential health, social, and government
                            services’ to avoid racial profiling under S.B. 168. But
                            Clapper forecloses this theory. ‘Where a “hypothetical
                            future harm” is not “certainly impending,” plaintiffs
                            “cannot manufacture standing merely by inflicting harm
                            on themselves.”’ Muransky v. Godiva Chocolatier, Inc.,
Associational               979 F.3d 917, 931 (11th Cir. 2020) (en banc) (quoting
Standing in                 Clapper, 568 U.S. at 416). And we have rejected the
                            argument that plaintiffs have standing based on their
Voting Cases                ‘subjective fear of . . . harm’ and its ‘chilling effect.’
                            Corbett v. Transp. Sec. Admin., 930 F.3d 1225, 1238-
                            39 (11th Cir. 2019). Because the members’ feared
                            racial profiling is not ‘certainly impending,’ their self-
                            imposed harms do not create a cognizable injury
                            sufficient to support Article III standing.”
                            City of S. Miami v. Governor of Fla., 65 F.4th 631, 638
                            (11th Cir. 2023) (emphasis added)
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                                          • Members must have ability to bring case on their
                                            own, so same problems with individual standing
                                            apply.

                                          • Only potential injury is speculative.

                                          • CGG has not provided evidence to support
                                            associational standing.
Membership                                   • CGG has members that are plaintiffs in this
Issues                                          case. Martin, Vol. I, 129:22-23.
                                                  • Third-party standing issues.
                                             • CGG cannot identify its members. Martin,
                                                Vol. I, 131:6-24.
                                             • People become members of CGG by
                                                showing an interest in the organization and
                                                have no dues or other requirements. Martin,
                                                Vol. I, 124:25-125:4.
                                             • CGG does not have members in every
                                                Georgia county. Marks, Vol. XV, 12:9-11.
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                              “Although an organization can establish standing under
                              a diversion-of-resources theory, it cannot do so by
                              inflicting harm on itself to address its members’ ‘fears
                              of hypothetical future harm that is not certainly
                              impending.’ Clapper, 568 U.S. at 416. To prove injury in
                              fact based on an organization’s diversion of resources
                              to protect individuals from harm, the organizational
                              plaintiff must prove both that it has diverted its
Organizational                resources and that the injury to the identifiable
                              community that the organization seeks to protect is
Standing in                   itself a legally cognizable Article III injury that is closely
                              connected to the diversion. As our sister circuit has
Voting Cases                  explained, ‘an organization can no more spend its way
                              into standing based on speculative fears of future harm
                              than an individual can.’ Shelby Advocs. for Valid
                              Elections v. Hargett, 947 F.3d 977, 982 (6th Cir. 2020).
                              The harm must be concrete and imminent.”

                              City of S. Miami v. Governor of Fla., 65 F.4th 631, 638-
                              39 (11th Cir. 2023) (emphasis added)
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                              “The complaint’s allegations with respect to injury all
                              boil down to prior system vulnerabilities, previous
                              equipment malfunctions, and past election mistakes.
                              Past may be precedent. But the Supreme Court has not
                              been sympathetic to claims that past occurrences of
                              unlawful conduct create standing to obtain an
                              injunction against the risk of future unlawful conduct.
Organizational                See O’Shea v. Littleton, 414 U.S. 488, 495-98, 94 S. Ct.
                              669, 38 L. Ed. 2d 674 (1974) (allegation, based on past
Standing in                   examples, of discriminatory prosecution); City of Los
                              Angeles v. Lyons, 461 U.S. 95, 105-06, 103 S. Ct. 1660,
Voting Cases                  75 L. Ed. 2d 675 (1983) (allegation, based on plaintiff's
                              past experience, that policy of using constitutionally
                              excessive chokeholds increased risk of experiencing
                              another).”

                              Shelby Advocates for Valid Elections v. Hargett, 947 F.3d
                              977, 981 (6th Cir. 2020) (emphasis added)
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Bases for
Organizational                              MSJ Order, p. 86.
Injury                                      • Right to have individual votes “counted as cast”
                                              cannot be vindicated on any election system,
                                              including a hand-marked paper ballot system.

                                            • Imminence was construed in Plaintiffs’ favor at
                                              MSJ stage.

                                            • Imminence affected by implementation of
                                              remedial CISA recommendations.
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                                           • If it is diverting resources, CGG is diverting
                                             resources based solely on speculative future
                                             harms based on the evidence at trial.

                                           • CGG is only diverting resources in pursuit of this
                                             litigation, which is its mission.
                                                • CGG’s primary monetary expense for at least
                                                   last three years is litigation. Martin, Vol. I,
Facts on                                           129:7-11, 117:9-18.
                                                • Spending money on this litigation is what
Organizational                                     has caused CGG’s reduction in its other
Standing                                           activities. Martin, Vol. I, 130:16-23; 120:9-
                                                   121:5.
                                                • Even during the litigation, CGG has spent
                                                   time monitoring SEB activities and
                                                   proposing rules. Martin Vol. I, 123:24-124:7.
                                                   That is consistent with its mission as an
                                                   educational organization. Martin Vol. I,
                                                   129:12-21.

                                           • Kraken, Inc.
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Traceability/
Redressability



                                                        MSJ Order, p. 102
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                                            • As will be discussed in merits, there is no
                                              evidence presented at trial that “remedial
                                              measures” will redress the claimed injuries.

                                            • Undisputed evidence demonstrates that there
                                              would be costs imposed on non-party counties.
                                              Tr. Vol. XVIB, 23:23–24:7.



Evidence on
Traceability/
Redressability
     Case 1:17-cv-02989-AT Document 1820-2 Filed 02/08/24 Page 27 of 92




                                             • Undisputed evidence demonstrates that if the
                                               sole remedy is enjoining the application of
                                               O.C.G.A. § 21-2-300, non-party counties would
                                               still decide whether to use BMDs for all in-person
                                               voters or not, preventing any redressability. Tr.
                                               Vol. XVIB, 23:23–24:7.

                                             • If remedy is imposing audits, undisputed
                                               evidence demonstrates that counties would have
Evidence on                                    to conduct those audits. Tr. Vol. XV, 223:14–17,
                                               224:1–9.
Traceability/
Redressability
            Case 1:17-cv-02989-AT Document 1820-2 Filed 02/08/24 Page 28 of 92




                               Cases covering this issue involve cases where there was
                               only a single complaint even with multiple Plaintiffs.
                               Florida v. United States HHS, 648 F.3d 1235, 1240
                               (11th Cir. 2011); Rumsfeld v. Forum for Acad. &
                               Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006).

The One-                       MSJ Order cited Shaw v. Hunt regarding fee issues.
Plaintiff Rule
Does Not                       But in that case, “the district court allowed a group of
Apply to the                   ten registered Republican voters residing in the Fourth,
                               Sixth, Ninth, and Tenth Congressional Districts to join
Differing                      the action as permissive intervenors (“Original
                               Intervenors”), on the condition that they adopt plaintiffs’
Claims                         complaint.” Shaw v. Hunt, 154 F.3d 161, 163 (4th Cir.
                               1998) (emphasis added).

                               Key difference is different complaints with different
                               plaintiffs seeking different relief.
                               Evidence during trial shows seeking different relief.
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                                   Standing: Tyson
Structure of
Closing
                                   Anderson/Burdick: Belinfante


                                   Remedies/Remaining Factors: Miller


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Georgia Elections
Overview
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                              Secretary of State:

                              O.C.G.A. § 21-2-50: provide forms, build ballots, conduct training for county
                              election superintendents.


Georgia                       O.C.G.A. § 21-2-300: determine uniform voting equipment, furnish a
                              “uniform system of electronic ballot markers and ballot scanners … certified
                              by the [US EAC].

Elections
Overview:                     State Election Board:

                              O.C.G.A. § 21-2-31: promulgate rules and regulations to obtain uniformity,

Role of                       promote elections, and investigations.



Secretary,                    County Election Superintendents:


SEB,                          O.C.G.A. § 21-2-70: train and appoint poll officers and poll workers, purchase
                              and make available election supplies.


Counties                      O.C.G.A. § 21-2-99: train poll officers and poll workers, provide certification.

                              O.C.G.A. §§ 21-2-380-390: absentee ballot and advance voting
                              administration.

                              O.C.G.A. § 21-2-379.26: securely store election devices and equipment.
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Georgia
Elections                        Secretary of State:
Overview:                        SEB R. 183-1-12-.05: determine all modifications, upgrades,

Role of
                                 and changes to election equipment, exclusive authority to
                                 authorize internet connections.

Secretary,                       SEB R. 183-1-12-.06: authorize movement of voting system
                                 equipment.

SEB,                              ◦ Enhanced chain of custody requirements (Sterling)



Counties
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                              County Election Superintendents:
                               ◦ SEB R. 183-1-12-.03: confirm acceptance testing.
                               ◦ SEB R. 183-1-12-.05: maintain security of EMS, including locks
                                 and passwords.

Georgia                        ◦ SEB R. 183-1-12-.04: maintain security of election equipment
                                 and polling places.

Elections                      ◦ SEB R. 183-1-12-.06: administration of oaths, security for EMS,
                                 audit of election equipment.

Overview:                      ◦ SEB R. 183-1-12-.07: review ballots prior to election.
                               ◦ SEB R. 183-1-12-.08: conduct logic and accuracy testing.

Role of                        ◦ SEB R. 183-1-12-.09: securely transport voting equipment to
                                 polling locations

Secretary,                     ◦ SEB R. 183-1-12-.10: protocols for opening of the polls.
                               ◦ SEB R. 183-1-12-.11: protocols for polling place activity.

SEB,                           ◦ SEB R. 183-1-12-.12: protocols for close of polling locations.
                               ◦ SEB R. 183-1-12-.13: storing ballot images.

Counties                       ◦ SEB R. 183-1-12-.14: maintain all components of election
                                 equipment, report “any malfunction or problem” to the
                                 Secretary.
                               ◦ SEB R. 183-1-12-.20: emergency paper ballot rule.
                               ◦ SEB R. 183-1-14-.11: absentee ballot administration.
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Plaintiffs’
Substantive
Claims
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                                         Curling
                                         • Count III: violation of the fundamental
                                           right to vote under the Due Process
                                           Clause of the Fourteenth Amendment),
                                           and
                                         • Count IV: violation of the Equal
What                                       Protection Clause of the Fourteenth
                                           Amendment.
Remains                                  Coalition
(SJO at *44)                             • Count I: violation of the fundamental
                                           right to vote under the First and
                                           Fourteenth Amendments, and
                                         • Count II: violation of the Equal
                                           Protection Clause of the Fourteenth
                                           Amendment.
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                                In this Circuit, courts analyze First and Fourteenth
                                Amendment claims that challenge election practices
                                under the balancing test outlined by the Supreme
                                Court in Anderson v. Celebrezze, and Burdick v.
                                Takushi.
Applicable
Legal                           Most of the parties agree that this test should apply
                                to each of Plaintiffs’ constitutional claims.
Analysis
                                The Court … will therefore analyze all of these claims
                                together under the Anderson-Burdick test.


                                                                             (MSJ Order at *40)
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                                This test requires the Court to
                                 1. Weigh the ‘character and magnitude’ of
                                    the burden that the State’s rule
                                    imposes” on Plaintiffs’ voting rights,

The                              2. Against the interests that the State
Anderson-                           contends justify that burden, and
                                    consider the extent to which the State’s
Burdick Test                        concerns make the burden necessary.

                                   Timmons v. Twin Cities Area New Party, 520 U.S. 351,
                                           358 (1997) (citing Burdick, 504 U.S. at 434).


                                                                       (MSJ Order at *44)
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                                “The Court first considers “the character
                                and magnitude of the
                                      [1] burden
Three                                    [2] imposed by
Prongs of                                [3] the allegedly unconstitutional
Anderson-                                conduct.”

Burdick’s
                                 (MSJ Order at *45 (brackets and emphasis added))
First Step
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                        The Alleged
                        Burden
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                        The Burden on
                        Voting
                        When a state election law provision imposes only “reasonable,
                        nondiscriminatory restrictions” upon the First and Fourteenth
                        Amendment rights of voters, “the State's important regulatory interests are
                        generally sufficient to justify” the restrictions. If [the regulation] imposes
                        only “reasonable, nondiscriminatory restrictions” upon those rights, the
                        State's important regulatory interests are generally sufficient to justify the
                        restrictions.

                        Burdick v. Takushi, 504 U.S. 428, 434 (1992).


                        To deem ordinary and widespread burdens like these severe would
                        subject virtually every electoral regulation to strict scrutiny, hamper the
                        ability of States to run efficient and equitable elections, and compel federal
                        courts to rewrite state electoral codes. The Constitution does not require
                        that result
                        Clingman v. Beaver, 544 U.S. 581, 593 (2005) (emphasis added).
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                        The Burden on
                        Voting
                        Here, the Court understands the claimed constitutional
                        burden to be the

                        [1] risk of harm that the current election system’s
                        security vulnerabilities and operational issues imposes on

                        [2] Plaintiffs right to cast an effective, accurately
                        counted vote.




                                       MSJ Order (emphasis and brackets added) at *45
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                        The Burden on
                        Voting
                        “No election system is
                        flawless.” (MSJ Order at *41).

                        “It is true that electronic
                        voting systems are not per se
                        unconstitutional.” (MSJ Order at
                        *46).
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                        The Burden on
                        Voting



                                                                     Defs’ Ex. 194



                        Coalition generally agrees that “BMDs should
                        not be used by voters who are able to mark an
                        optical scan ballot with a pen.” (Vol. XV, 61:20-62:2)
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                        The Burden on
                        Voting
                        The 2021 Halderman Report
                        CISA’s 2022 security advisory corroborating the
                        Halderman Report, and
                        [T]he revelations regarding the 2021 Coffee County voting
                        system breach are among the important new evidence
                        that arguably further support the substantial risks posed
                        by Georgia’s BMD voting system.
                                                                     (MSJ Order at *45)
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                        The Burden on Voting:
                        Lack of Evidence
                       No expert witness knows of a Georgia ballot not being counted
                       as cast.


                       No Plaintiff knows whether their ballot was cast as counted.
                           • Schoenberg, Vol. I, 108:15-21
                           • L. Digges, Vol. I, 208:1-24 (assuming scanner counts
                              votes correctly)
                           • Price, Vol. II, 31:10-16.
                           • W. Digges, Vol. II, 41:5-9.
                           • Nakamura, Vol. II, 115:11-16, 117:3-23.
                           • Curling, Vol. V, 13:19-25
                           • Missett, Vol. VIII, 167:13-168:4


                        No State witness knows of a ballot not being counted as cast.
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                        The Burden on Voting:
                        Lack of Evidence

                                                  NO

                          QUANTIFICATION

                                          OF RISK
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                        The Burden on Voting:
                        CISA Recommendations
                        CISA recommends election officials continue to take
                        and further enhance defensive measures to reduce the
                        risk of exploitation of these vulnerabilities. Specifically,
                        for each election, election officials should:


                                                      (Curling PX 90 (emphasis added))
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                        The Burden on Voting: CISA
                        Recommendations
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                        The Burden on Voting:
                        CISA Recommendations
                        1. “Ensure all affected           Balancing Interests:
                        devices are physically              Evans (XI, 79:21-80:13).
                        protected before, during,           Sterling
                        and after voting.”
                                                            Pilot Project:
                                                             Evans (XI, 203: 15-18).

                                                            Efficacy Questionable

                                                            VVSG 2.0 Unavailable:
                                                             Evans (XII, 203: 15-18).
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                        The Burden on Voting:
                        CISA Recommendations
                        2. “Ensure all affected           County Obligation.
                        devices are physically                SEB R. 183-1-12-.04 -
                        protected before, during,               .06.
                        and after voting.”                    SEB R. 183-1-12-.09 -
                                                                .14.
                                                              Evans (XI, 79:21-80:13).

                                                          US Homeland Security and
                                                          GEMA
                                                               Evans (XI, 20:15-21)
                                                               Sterling
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                        The Burden on Voting:
                        CISA Recommendations
                        3. “Ensure compliance             Secretary’s Form.
                        with chain of custody                  SEB R. 183-1-12-.06.
                        procedures through the
                        election cycle.”                  County Administration.
                                                              SEB R. 183-1-12-.06.

                                                          Evans
                                                               Defs’ Ex. 1242 at 17

                                                          Sterling
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                        The Burden on Voting:
                        CISA Recommendations
                        4. “Ensure that                   County Obligation.
                        ImageCastX and the
                        Election Management               Addressed in SEB R. 183-1-
                        System (“EMS”) are not            12-.05
                        connected to any
                        external (i.e., Internet
                        accessible) networks.”
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                        The Burden on Voting:
                        CISA Recommendations
                        5. “Ensure carefully              County Obligation.
                        selected protective and               SEB R. 183-1-12-.04 -
                        detective physical                      .05
                        security measures (for                Evans (XI, 79:21-80:13).
                        example, locks and                Poll Worker Training Manual
                        tamper-evident seals) are               Defs’ Ex. 1242
                        implemented on all                      Evans (XIII, 64:12-73:25)
                        affected devices,
                        including on connected            Curling Plaintiffs’ Ex. 100
                        devices such as printers          (2020 election, Temple
                                                          Emanu-El)
                        and connecting cables.”
                                                               State Investigation of
                                                                 Fulton County (Evans,
                                                                     XIII, 84:2-6).
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                        The Burden on Voting:
                        CISA Recommendations
                        6. “Close any
                        background application
                        windows on each
                        ImageCast X devices.”
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                        The Burden on Voting:
                        CISA Recommendations
                        7. “Use read-only media           Michael Barnes
                                                          (V. XII, 24:1-25:9, 26:6-19.)
                        to update software or
                        install files onto
                        ImageCast X devices.”
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                        The Burden on Voting:
                        CISA Recommendations
                        8. “Use separate, unique          Means to prevent double
                        passcodes for each poll           voting.
                        worker card.”                           Poll pads.
                                                                Ballot recap sheets.
                                                                Poll worker oversight.
                                                                  Evans (XIII, 76:20-79:25).

                                                          Concerns with unique
                                                          tabulator security keys.
                                                               Evans (V. XIII, 56:16-57:11,
                                                                     59:18-60:9, 60:23-61:7).
                                                                    Barnes (V. XII, 36:25-
                                                                     37:11).
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                        The Burden on Voting:
                        CISA Recommendations
                        9. “Use Ensure all                County Obligation.
                        ImageCastX devices are            SEB R. 183-1-12-.03, 183-1-
                        subjected to rigorous             12-.08
                        pre-and post-election
                        testing.”                         Evans on Importance of
                                                          Testing
                                                               •     Curling PX 606 (2020
                                                                     email).
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                        The Burden on Voting:
                        CISA Recommendations
                        10. “Disable the “Unify           Concerns with unique
                        Tabulator Security Keys”          tabulator security keys.
                        feature on the election                Evans (V. XI, 216:10-218:8;
                                                                     XIII, 56:16-57:11, 59:18-60:9,
                        management system and                        60:23-61:7).
                        ensure new                                  Barnes (V. XII, 36:25-
                        crytpographic keys are                       37:11).
                        used for each election.”
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                        The Burden on Voting:
                        CISA Recommendations
                        11. “As recommended by
                        Dominion Voting                   Hash Testing
                        Systems, uses the                      •     Michael Barnes (Vol. XII,
                        supplemental method to                       57:11-22, 58:18-25).

                        encourage hashes on
                        applications, audit log
                        exports, and application
                        reports.”
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                        The Burden on Voting:
                        CISA Recommendations
                        12. “Encourage voters to          County Obligation and
                        verify the human-                 Express Rule.
                                                          SEB R. 183-1-12-.11(2)(b).
                        readable votes on
                        printout.”                        Required Signage.
                                                          Poll Worker Manual (Defs’ Ex.
                                                          1245)
                                                          Evans
                                                          Kirk (Vol. XIII, 162:12-163:2)

                                                          UGA Study: 80.1% of voters
                                                          observed at the voting booth,
                                                          which is a short distance from the
                                                          scanner.
                                                          (Curling Pls.’ Ex. 51 at 4, 8; Sterling
                                                          Vol. XVI, 114:2-115:15).
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                        The Burden on Voting:
                        CISA Recommendations
                        13. “Conduct rigorous             Each County to Conduct RLA
                        post-election tabulation          on One Contest per SEB
                        audits of the human-              Rules.
                                                          O.C.G.A. § 21-2-31
                        readable portion of the
                        physical ballots and              Secretary’s Obligation to
                        paper records …”                  Select Election to Audit.
                                                          SEB R. 183-1-15-.04(1)(3).

                                                          County Obligation to
                                                          Perform.
                                                          SEB R. 183-1-15-.04(1)(1).

                                                          Evans (Vol. XIII, 134:10-16).

                                                          Adida
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The Burden on Voting:
Audits & Individual Voters
Here, the Court understands the claimed constitutional burden to be the

[1] risk of harm that the current election system’s security vulnerabilities and
operational issues imposes on

[2] Plaintiffs right to cast an effective, accurately counted vote.




                                                 MSJ Order (emphasis and brackets added) at *45
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The Burden on Voting:
Audits & Individual Voters
Coalition:
BMDs are inherently unauditable.

Stark:
Any BMD renders it unauditable.

Plaintiffs:
Voters with disabilities must be relegated to unauditable and allegedly unconstitutional
machines.

Adida:
Georgia’s unique status.
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The Burden on Voting:
Secretary’s Actions
Few emails, rapid response, and generally not after 2021.
  (Curling Pls.’ Exs. 608, 607, 609).
  Evans (Vol. XIII, 84:19-86:16, 87:24-89:6, 91:23-92:24).

Spalding County
  Sterling
  Evans

Ware County
  Sterling

Butts County (?)
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 The Burden on Voting:
 Secretary’s Actions – Coffee County
Three Separate Investigations
   Failure to Certify Elections (resolved in days).
   YouTube Disclosure of Password (resolved).
   Sullivan Strickler Breach (GBI investigation ongoing; State v. Trump).

Action When Known

State’s evidence at time:
     Dominion Release
     CyberNinja Card
     No Expert Testimony

Coalition’s evidence at time:
     Scott Hall Recording
     Pearson v. Kemp
     Ongoing conversations

Comparing Views of Scott Hall Conversation
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                        Causation
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Causation
Section 1983:
  Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 n.6 (2014).
  Zalter v. Wainwright, 802 F.2d 397, 401 (11th Cir. 1986).
  Jackson v. Sauls, 206 F.3ed 1156, 1168 (11th Cir. 2000).
  Fair Fight Action v. Raffensperger, 634 F. Supp. 3d 1128, 1199 (N.D. Ga. 2022).
  Compare Garcia-Bengochea v. Carnival Corporation, 57 F.4th 916, 927 (11th Cir. 2023).


Anderson-Burdick:
“This test requires the Court to ‘weigh the ‘character and magnitude’ of the burden that the State’s
rule imposes’ on Plaintiffs’ voting rights …” (MSJ Order at * 44).
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Causation
Intervening Criminal Conduct Severs Causal Chain:
   “The causal relation does not exist when the continuum between [the] [d]efendant’s action and
    the ultimate harm is occupied by the conduct of deliberative and autonomous decision-makers.
    A defendant’s actions are not the proximate cause of plaintiff’s injury where there was an
    independent intervening cause.” Buckman v. Halsey, No. 20113596, 2021 WL 4127067, at *3
    (11th Cir. Sept. 10, 2021) (quotations omitted).

Independent Acts or Inaction of Counties Severs Chain
   Jacobson v. Florida Sec’y of State, 974 F.3d 1236, 1255 (11th Cir. 2020)
   Fair Fight Action, Inc. v. Raffensperger, 1:18-CV-5391-SCJ, 2021 WL 9553856, at *8 (N.D. Ga.
    Mar. 31, 2021), opinion clarified 1:18-CV-5391-SCJ, 2021 WL 9553849 (N.D.Ga. Nov. 15, 2021)
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Causation
Section 1983 Liability Cannot Be Premised on Government Innaction:
  DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs., 489 U.S. 189, 195 (1989) (due process).

  Smith v. Arkansas State Highway Emp., Local 1315, 441 U.S. 463, 465 (1979) (first amendment).

  Fair Fight Action, Inc. v. Raffensperger, 1:18-CV-5391-SCJ, 2021 WL 9553856, at *8 (N.D. Ga. Mar. 31,
   2021), opinion clarified 1:18-CV-5391-SCJ, 2021 WL 9553849 (N.D.Ga. Nov. 15, 2021) (“The Court agrees
   with Defendants that ‘[t]he law does not impose constitutional liability for governments because they do
   not exceed their statutory obligations’”).

  Compare Curling v. Sec’y of State of Ga., 761 F. App’x 927, 933 (11th Cir. 2019) (citing Verizon Maryland,
   Inc. v. Pub. Serv. Comm’n of Maryland, 535 U.S. 635, 647 (2002) (regarding Ex Parte Young).
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                        The State’s
                        Rule
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The State’s Rule
“This test requires the Court to ‘weigh the ‘character and magnitude’ of the burden that the State’s rule
imposes’ on Plaintiffs’ voting rights …” (MSJ Order at * 44).

Plaintiffs identify no policy other than uniformity and ballot marking devices.

As-applied vs. Facial.
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The State’s Rule
“This test requires the Court to ‘weigh the ‘character and magnitude’ of the burden that the State’s rule
imposes’ on Plaintiffs’ voting rights …” (MSJ Order at * 44).

Sporadic Incidents are not a Policy
Anderson, Burdick, and their progeny do not apply to accidental mistakes on the part of election officials
during the administration of elections. “Unlike systematic discriminatory laws, isolated events that adversely
affect individuals are not presumed to be a violation of the equal protection clause.” Gamza v. Aguirre, 619
F.2d 449, 453 (5th Cir. 1980). “If every state election irregularity were considered a federal constitutional
deprivation, federal courts would adjudicate every state election dispute .... [But] Section 1983 ... did not
authorize federal courts to be state election monitors.” Id. at 453–454.
                       Fair Fight Action, Inc. v. Raffensperger, 634 F. Supp. 3d 1128, 1201–02 (N.D. Ga. 2022)
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The State’s Rule
The Necessity of Remedies.

Even if the Court were to find that Anderson-Burdick applied and that Plaintiffs satisfied their burden in
establishing a First and Fourteenth Amendment violation, Plaintiffs have not proposed viable
remedies. “The absence of an available remedy is not only relevant at the remedial stage of the litigation,
but also precludes, under the totality of the circumstances inquiry, a finding of liability.” Nipper
v. Smith, 39 F.3d 1494, 1533 (11th Cir. 1994).
    Fair Fight Action, Inc. v. Raffensperger, 634 F. Supp. 3d 1128, 1201–02 (N.D. Ga. 2022)(emphasis added)
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                        The State’s
                        Interest
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The State’s Interest




     Gabriel Sterling                                            Matt Mashburn
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The State’s Interests:
Plaintiffs’ Lack of Evidence
No election administrator.
No expert on election administration.
No county official.
No poll worker.
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                                   Standing: Tyson
Structure of
Closing
                                   Anderson/Burdick: Belinfante


                                   Remedies/Remaining Factors: Miller


                                                                                1
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                                    Plaintiffs bear the burden to demonstrate:
                                    1. Irreparable injury absent an injunction.
 Plaintiffs Are
                                    2. No adequate remedy at law.
Not Entitled to
  Injunctive                        3. The balance of the equities between the
                                       Plaintiffs and Defendants weighs in Plaintiffs’
     Relief                            favor.
                                    4. That the public interest would not be
                                       disserved by a permanent injunction.


                                    eBay, Inc. v. MercExchange, LLC, 547 U.S. 388,
                                    391 (2006)
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Individual Standing in Voting Cases




                                                                        DX 1242
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                         “Although federal courts have broad equitable powers
                         to remedy proven constitutional violations, injunctive
                         relief must be tailored to fit the nature and extent of the
                         established violation.”

                         Gibson v. Firestone, 741 F.2d 1268, 1273 (11th Cir. 1984).


                                           “In other words, the injunction must be no broader than
What is the                                necessary to remedy the constitutional violation.”
Remedy?                                    Young Israel of Tampa, Inc. v. Hillsborough Area Reg’l
                                           Transit Auth., 89 F.4th 1337, 1351 (11th Cir. 2024).


                         “There is no such thing as a suit for traditional injunction in
                         the abstract … if the plaintiff’s rights have not been violated,
                         he is not entitled to any relief, injunctive or otherwise.”

                         Alabama v. U.S. Army Corps of Eng’rs, 424 F.3d 1117, 1127
                         (11th Cir. 2005).
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                                                                               MSJ Order, ECF No.
                                                                                   1705 at 5




What is the
Remedy?


                          MSJ Order, ECF No. 1705
                                at 116-117
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          Eliminating QR Codes
                                                       New Software Required

                                                       New Printers Required

                                                       $25 million cost imposed

                                                       Time Required for Implementation
 Vol. 8A Tr.
28:13-29:04




                                                                                           Vol. 16B Tr.
                                                                                           8:01-14:16
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              Eliminating QR Codes




Vol. 12 Tr. 287:14-288:09



                                                                                                 Vol. 14 Tr. 59:09-14, 63:02-13
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Broader Scope & Number of Audits



  Vol. 8A Tr.
  27:19-22




                                                                                     Vol. 9 Tr. 178:01-11


                       Vol. 9 Tr. 134:06-12
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Broader Scope & Number of Audits
                                      Vol. 13 Tr.
                                      134:08-16




                                                        Vol. 12 Tr. 153:22-154:03




                                               Vol. 12 Tr. 153:14-16




                                              Vol. 12 Tr.
                                              168:14-21



       Vol. 13 Tr. 149:10-14, 152:24-25
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Cybersecurity Measures & Policies
 Software Updates Infeasible for 2024

 No Plaintiffs’ Expert Examined Procedures
Required by Georgia law.

 No Additional “Measures & Policies” Offered
by Plaintiffs to Resolve Their “Injury.”

 No Relief Available to Follow Pre-existing
Georgia law.



                                                                                        DX 1242
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Enjoining Uniformity Requirement
 No evidence of what any county would do.
 Still would not provide any means to verify
 individual votes counted as cast. Vol. 12 Tr.
 267:22-268:09; Vol. 14 Tr. 113:05-16.
 The only county election official to testify
 described offering both options as “the worst of
 both worlds.” Vol 13 Tr. 160:19-20.
 The only county election official to testify
 described the infrastructure and cost demands.
 Vol 13 Tr. 160:22-161:20.
Overrides the State policy decision in place for
 20+ years.
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Enjoining Uniformity Requirement
 HMPBs Susceptible to undervote and
overvote hacks.
 11% Error Rate of HMPBs nationally,
disproportionate impact in minority precincts
in Georgia. Vol. 14 Tr. 66:11-16; 67:23-25
 Administrative and fiscal burden imposed on
non-party counties. Vol. 16B Tr. 20:18-23:21
 Cannot blue-pencil new training,
procurement, and implementation
requirements. Jacobson v. Fla. Sec’y of State,
974 F.3d 1236, 1255 (11th Cir. 2020).
                                           Vol. 14 Tr.
                                           79:08-22
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Other Remedies
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Plaintiffs’ Inherent Disability Problem




                                          Vol. 14 Tr. 64:14-23




                                                                             Vol. 9 Tr. 173:10-20




                       Vol. 12 Tr. 236:01-06
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The Important Policy Decisions
          Case 1:17-cv-02989-AT Document 1820-2 Filed 02/08/24 Page 92 of 92




                           “It would be difficult to overstate the importance of the right to
                          vote. But in our efforts to protect that right, federal courts must
                          resist the temptation to step into the role of elected representatives,
                          weighing the costs and benefits of various procedures when the
                          State has already done so in a reasonable and nondiscriminatory
                          way.”
The Role of               Curling v. Raffensperger, 50 F.4th 1114, 1126 (11th Cir. 2022).
the Federal
Courts                         “Federal judges can have a lot of power—especially when issuing
                               injunctions. And sometimes we may even have a good idea or two.
                               But the Constitution sets out our sphere of decisionmaking, and
                               that sphere does not extend to second-guessing and interfering
                               with a State’s reasonable, nondiscriminatory election rules.”

                               New Ga. Project v. Raffensperger, 976 F.3d 1278, 1284 (11th Cir.
                               2020).
